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   8                       UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
   9
   10 LEE WIGOD                                   CASE NO:
                                                  2:19−cv−02874−SVW−MAA
   11                  Plaintiff(s),
                                                  CIVIL TRIAL PREPARATION
               v.                                 ORDER
   12
        CALLFIRE, INC.
   13                                             Pretrial Conference:
                                                  December 2, 2019 at 3:00 p.m.
   14
                                                  Jury Trial:
                      Defendant(s).               December 10, 2019 at 9:00 a.m.
   15
   16
   17
   18          The above-mentioned cause of action is set for trial before the Honorable
   19    Stephen V. Wilson. Counsel preparing for trial before this Court shall comply
   20    with this Order. Non-compliance will be subject to sanctions.
   21    ///
   22    ///
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             A.     JURY CASES
   2                1.     JURY INSTRUCTIONS
   3                In a jury trial, jury instructions and a verdict form are to be
   4    submitted not later than 2 court days prior to the pretrial conference or 1 week

   5    prior to trial if pretrial conference is waived. Counsel need only submit proposed
   6    substantive jury instructions, the Court propounds its own general instructions
   7    and essentially follows the format set out in the Ninth Circuit Model Jury
   8    Instructions.
   9                       a)     Form of Jury Instructions and Verdict Forms:
   10        The parties MUST submit JOINT jury instructions and a joint verdict
   11   form. In order to produce these joint instructions, the parties SHALL MEET
   12   AND CONFER sufficiently in advance of the required submission date. The

   13   instructions should be submitted in the order in which the parties wish to have
   14   the instructions read. This order should reflect a single organized sequence
   15   agreed to by all of the parties. The Court INSISTS upon receiving lucid and
   16   accurate instructions setting forth the elements of each party’s claim and defenses.
   17   The instructions should be tailored to the facts of each case.

   18                      b)     Procedure for Instructions Upon Which Agreement

   19   Cannot be Reached:

   20        Instructions shall be submitted in three (3) sets (with an extra copy for the
   21   Court’s law clerks) in the following form:
   22                             1.      The agreed upon instructions.
   23                             2.      Those instructions propounded by plaintiff,
   24                                     opposed by defendant.

   25                             3.      Those instructions propounded by defendant,

   26                                     opposed by plaintiff.
   27        Instructions upon which agreement cannot be reached should reflect the
   28   basic disagreements among the parties as to the law. While the Court recognizes

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        that such disagreements arise in almost every case, the Court also recognizes
   2    that parties ultimately disagree over only a limited number of issues. The
   3    disputed instructions should be equally so limited.
   4          The disputed instructions should be presented to the Court within the

   5    framework of the overall set of instructions. The parties should put forth
   6    differing versions of disputed instructions, and the Court will select one version
   7    (as outlined in 1(b) above).
   8          The instructions and verdict form submitted to the Court MUST be
   9    numbered, and the parties must also submit an un-numbered index. Attribution
   10   and case citation for each instruction shall be placed on pages following a
   11   proposed instruction. For disputed instructions, a party should note its objections
   12   to a proposed instruction and its reasons for putting forth its alternative on pages

   13   placed after its own alternative instruction.
   14         INSTRUCTIONS SHALL BE BRIEF, CLEAR, CONCISE, WRITTEN IN
   15   PLAIN ENGLISH, FREE OF ARGUMENT AND SHALL BE ORGANIZED
   16   IN LOGICAL FASHION SO AS TO AID JURY COMPREHENSION.
   17   Standard or form instructions, if used, must be revised to address the particular

   18   facts and issues of this case.

   19         The following list contains some suggested sources for jury instructions:

   20               1.      Ninth Circuit Model Jury Instructions
   21                       (updated yearly)
   22               2.      Federal Jury Practice and Instructions
   23                       (Devitt and Blackmar (4th Edition))
   24               3.      Modern Federal Jury Instructions

   25                       (Matthew Bender 1985)

   26               4.      California Forms of Jury Instructions
   27                       (Matthew Bender 1985)
   28   ///

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             B.      COURT TRIALS
   2         Counsel for plaintiff(s) and defendant(s) in non-jury trials shall submit the
   3    direct testimony of their witnesses in writing in the format of a declaration
   4    subject to the penalties of perjury. These declarations shall be in admissible

   5    form with appropriate foundations established for the declarant’s statements.
   6    Paragraphs in each declaration shall be numbered consecutively so as to
   7    facilitate the identification of paragraphs for evidentiary objections.
   8         Counsel are to exchange and file these declarations with the Court at
   9    least eight calendar days before trial, unless otherwise ordered by this Court.
   10   Four calendar days before trial, counsel may file a separate document stating
   11   any evidentiary objections he or she may have with each declaration.
   12        At trial the Court will rule on the evidentiary objections and, depending

   13   upon the rulings, the declarations will be received in evidence either in whole or
   14   in-part or rejected. Counsel will then conduct the cross-examination and re-direct
   15   examination at trial. This Order does not apply to rebuttal witnesses.
   16        Failure to comply with the literal terms of this Order will result in sanctions
   17   or the refusal of the Court to allow the testimony of that witness.

   18        C.       WAIVER OF PRETRIAL CONFERENCE

   19        In those cases where the Court waives a pretrial conference, counsel shall

   20   file memos of contentions of fact and conclusions of law, trial briefs, exhibit
   21   lists, witness lists, etc., at least one week prior to trial.
   22        D.       PROCEDURES PRIOR TO TRIAL
   23        1.      Discovery disputes of a significant nature should be brought promptly
   24   before the Magistrate Judge, as provided in this Court’s Standing Order. The

   25   Court does not look favorably upon delay resulting from unnecessarily unresolved

   26   discovery disputes. Any discovery disputes that are not resolved three (3) weeks
   27   prior to the scheduled trial date should be brought promptly and directly to the
   28   attention of this Court.

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             2.     If you are intending to use any depositions for impeachment or any
   2    purpose, arrange to have them lodged with the Courtroom Deputy Clerk on the
   3    first day of trial if they are in your control, or request opposing counsel to do the
   4    same for depositions in his or her control. Otherwise, be prepared to lodge a copy

   5    in lieu of the original with a stipulation that the copy may be used as if it were
   6    the original.
   7         3.     Come to the courtroom NOT LATER THAN 8:30 a.m. on the first
   8    day of trial and present the Courtroom Deputy Clerk with the following documents:
   9                a)     THREE COPIES of your previously filed exhibit list in the
   10   form specified in Local Rule 16-6. When the exhibit is objected to, add after
   11   description of each exhibit, the words “OBJECTED TO.” (Photographs, charts
   12   etc. and each document shall be listed on the exhibit list.) Blow-ups of previously

   13   marked exhibits shall receive an “A” designation following the exhibit number.
   14               b)      THREE COPIES of your previously filed witness list. It
   15   will be assumed that each listed witness will testify live unless following his or
   16   her name you state “by deposition.” (See marking of depositions, item #7.)
   17               c)     In Court trials, ONE COPY of each of your previously

   18   filed witness’ declarations.

   19               d)      ALL of your exhibits, with official exhibit tags attached,

   20   bearing the same number shown on your exhibit list, must be delivered to the
   21   Courtroom Deputy Clerk not later than 8:30 a.m. on the first day of trial.
   22   Official exhibit tags are available from the Civil Intake Window in the Clerk’s
   23   Office, Room G-19. Exhibits shall be marked in accordance with Local Rule
   24   11-5.3 and 16-5.1. A separate number is NOT given to each page of a single

   25   document.

   26               e)     Bulky exhibits that cannot be brought in through the main
   27   entrance or voluminous documents (more than 50 bankers boxes) can be brought
   28   in through the loading dock. Please contact my courtroom deputy for instructions

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        on using the loading dock.
   2         4.        The Court finds it helpful to follow the testimony closely and thus,
   3    counsel MUST have the following available:
   4                   a)     A bench book containing a copy of all exhibits that can,

   5    as a practical matter be reproduced. Each exhibit shall be marked with a tab
   6    identifying the exhibit’s number for easy reference.
   7                   b)     An extra copy of each deposition that will be used in lieu
   8    of live testimony or for impeachment.
   9         5.        Counsel are advised to be on time as the Court starts promptly.
   10   Usual “trial days” are Tuesdays through Fridays, 9:00 a.m. to 5:00 p.m. Lunch
   11   recess is normally 12:00 noon to 1:30 p.m. Morning and afternoon breaks are
   12   5 to 10 minutes in length.

   13        6.        Before trial commences, the Court will give counsel an opportunity
   14   to discuss, in advance, housekeeping matters and anticipated problems of
   15   procedure or law. During the trial, if there are any housekeeping matters you
   16   wish to discuss, please inform the Courtroom Deputy Clerk of the types of
   17   matters for discussion.

   18        7.        Where witnesses testify by deposition, please do the following:

   19                  a)     Mark with colored pen or pencil on the original of the

   20   deposition the parts you will be offering. Plaintiff will use blue and defendant
   21   will use red.
   22                  b)     In a jury case, the marked portions of the deposition may
   23   be read to the jury. You can arrange with opposing counsel or co-counsel to
   24   have someone in the witness chair read the witness’ answers.

   25        E.         INSTRUCTIONS TO COUNSEL GOVERNING TRIALS IN

   26                  THIS COURT
   27                  1.    During trial counsel shall not refer to their clients by their
   28   first names.

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                       2.   Opening statements, examination of witnesses and closing
   2    arguments should be made from the lectern only. Ask permission before leaving
   3    the lectern.
   4                   3.   The Court views opening statements in a jury case as one of

   5    the most important parts of the case. These statements should be well organized.
   6    Avoid discussing the law or arguing the case in opening statements. Tell the jury
   7    what facts the evidence will establish.
   8                   4.   Do not use objections for the purpose of making a speech,
   9    recapitulating testimony or, attempting to guide the witness. When objecting,
   10   state only that you are objecting and the legal ground of the objection, e.q.,
   11   hearsay, irrelevant, etc. If you wish to argue an objection further, ask for
   12   permission to do so.

   13                  5.   Speak up when making an objection. The acoustics in most
   14   courtrooms make it difficult for all to hear an objection when it is being made.
   15   Counsel must speak audibly and clearly when questioning witnesses or arguing
   16   to the Court or jury. Counsel should instruct their witnesses to speak audibly and
   17   clearly.

   18                  6.   Do not approach the Clerk or the witness box without

   19   specific permission. Go back to the lectern when the purpose of the approach

   20   is finished.
   21                  7.   Rise when addressing the Court. In a jury case, please
   22   rise when the jury enters or leaves the Courtroom.
   23                  8.   Address all remarks to the Court. Do not address the clerk,
   24   the reporter, or opposing counsel. If you want to say something to opposing

   25   counsel, ask permission to talk to him or her off the record. All requests for the

   26   re-reading of questions or answers, or to have an exhibit placed in front of a
   27   witness, shall be addressed to the Court.
   28   ///

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                    9.     The Court shall be addressed as “Your Honor” at all times,
   2    not “Judge” as in state court practice.
   3                10.     In a jury case, do not make an offer of a stipulation unless
   4    you have conferred with opposing counsel and have reason to believe the

   5    stipulation will be accepted.
   6                11.     While Court is in session, do not leave the counsel table to
   7    confer with investigators, secretaries, paralegals, or witnesses in the back of the
   8    courtroom unless permission is granted in advance.
   9                12.     Counsel should not by facial expression, nodding, or other
   10   conduct which exhibit any opinions, adverse or favorable, concerning any
   11   testimony which is being given by a witness or any ruling by the Court. Counsel
   12   shall admonish their own clients and witnesses similarly to avoid such conduct.

   13               13.     When a party has more than one lawyer, only one may
   14   conduct the direct or cross-examination of a given witness.
   15               14.     If a witness was on the stand at a recess or adjournment,
   16   have the witness back on the stand, ready to proceed when Court resumes.
   17               15.     Do not run out of witnesses. If you are out of witnesses

   18   and there is more than a brief delay, the Court may deem that you have rested.

   19               16.     The Court attempts to cooperate with doctors and other

   20   professional witnesses and will, except in extraordinary circumstances,
   21   accommodate them by permitting them to be put on out of sequence.
   22   Anticipate any such possibility and discuss it with opposing counsel. If there
   23   is objection, confer with the Court in advance.
   24
           IT IS SO ORDERED.
   25
   26 DATED: August 8, 2019
   27                                      Stephen V. Wilson
                                           United States District Judge
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